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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )             Case No. CR06-38-RSM
10         v.                             )
                                          )
11   STORMY WALKER,                       )             DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          COUNT 1:        Conspiracy to Smuggle and Transport Illegal Aliens, in violation of 8
                            U.S.C. §§ 1324 (a)(1)(A)(i), 1324(a)(1)(A)(ii), 1324(a)(1)(A)(v)(I),
16                          and 1324(a)(1)(B)(i)

17          COUNTS 2: Bringing Illegal Aliens for Financial Gain, in violation of 8 U.S.C. §
                      1324(a)(2)(B)(ii) and18 U.S.C. § 2
18
            COUNT 3:        Smuggling of Illegal Aliens, in violation of 8 U.S.C. §§
19                          1324(a)(1)(A)(i), 1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(i)

20 Date of Detention Hearing: February 13, 2008.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     Defendant is a citizen of Canada.

25          (2)     Defendant has no ties in the Western District of Washington or to this community.

26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (3)    An immigration detainer has been placed on defendant by the United States

02 Immigration and Customs Enforcement.

03          (4)    Defendant was involved in lengthy extradition litigation to avoid having to answer

04 for charges.

05          (5)    Defendant is considered a risk flight.

06          (6)    There appear to be no conditions or combination of conditions other than detention

07 that will reasonably assure the defendant’s appearance at future Court hearings.

08          IT IS THEREFORE ORDERED:

09          (1)    Defendant shall be detained pending trial and committed to the custody of the

10                 Attorney General for confinement in a correctional facility separate, to the extent

11                 practicable, from persons awaiting or serving sentences or being held in custody

12                 pending appeal;

13          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

14                 counsel;

15          (3)    On order of a court of the United States or on request of an attorney for the

16                 government, the person in charge of the corrections facility in which defendant is

17                 confined shall deliver the defendant to a United States Marshal for the purpose of

18                 an appearance in connection with a court proceeding; and

19          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

20                 counsel for the defendant, to the United States Marshal, and to the United States

21                 Pretrial Services Officer.

22
                   DATED this 13th day of February, 2008.


                                                            A
23

24
                                                            JAMES P. DONOHUE
25                                                          United States Magistrate Judge
26

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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